                  EXHIBIT 2




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          From: "Daniel-Davis, Laura E" <laura_daniel-davis@ios.doi.gov>
             To: "Stone-Manning, Tracy M" <tstonemanning@blm.gov>
        Subject: Re: guidance please FW: SENR Maj Q ---- Fw: [EXTERNAL] RE: Biden-Harris
                 Administration Takes Major Steps to Protect Arctic Lands and Wildlife in Alaska
           Date: Wed, 13 Sep 2023 12:35:29 +0000
  Inline-Images: ~WRD2883.jpg


Let’s discuss. We’ve not provided to anyone and Drew needs to handle.

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From: Stone-Manning, Tracy M <tstonemanning@blm.gov>
Sent: Wednesday, September 13, 2023 8:18:54 AM
To: Daniel-Davis, Laura E <laura_daniel-davis@ios.doi.gov>
Subject: Fwd: guidance please FW: SENR Maj Q ---- Fw: [EXTERNAL] RE: Biden-Harris Administration Takes Major Steps
to Protect Arctic Lands and Wildlife in Alaska

I sent her cancellation notice for her awareness.
Let’s discuss this and invariably other requests to come.

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From: Culver, Nada L <nculver@blm.gov>
Sent: Wednesday, September 13, 2023 2:36:13 AM
To: Stone-Manning, Tracy M <tstonemanning@blm.gov>; Daniel-Davis, Laura E <laura_daniel-davis@ios.doi.gov>
Subject: guidance please FW: SENR Maj Q ---- Fw: [EXTERNAL] RE: Biden-Harris Administration Takes Major Steps to
Protect Arctic Lands and Wildlife in Alaska

Hi Tracy and Laura – I understand that the rationale is provided in a letter that went to AIDEA but wasn’t made public. I
haven’t seen that and wasn’t sure if you wanted to provide that or something else in response to this request. I’ve
heard this question elsewhere already (OMB asked, too) so we probably do need an answer and I am presuming you all
thought about that already but again not sure.

Guidance appreciated!

Nada Wolff Culver
Principal Deputy Director
Bureau of Land Management
nculver@blm.gov
202-255-6979

From: Wilkinson, Patrick <P2Wilkin@blm.gov>
Sent: Tuesday, September 12, 2023 7:06 PM
To: Culver, Nada L <nculver@blm.gov>
Cc: Kniola, Benjamin E <bkniola@blm.gov>; Gins, Meagan A <mgins@blm.gov>; Wykowski, Henry T
<hwykowski@blm.gov>; Moffat, Sara A <smoffat@blm.gov>
Subject: SENR Maj Q ---- Fw: [EXTERNAL] RE: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and
Wildlife in Alaska
                                                                                                        Exhibit 2
hi nada,                                                                                                  1 of 5
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                                                                                                            #1127863.1
flagging the request below (in yellow) from peter/senr maj. to see if you have thoughts on response. (we
checked w/ ak on this too)
p

--------

Patrick Wilkinson

Division Chief

Legislative Affairs (HQ 620)

Bureau of Land Management

U.S. Department of the Interior

Cell Phone: (202) 631-6346


From: Gray, Morgan <Leslie Morgan Gray@ios.doi.gov>
Sent: Tuesday, September 12, 2023 1:24 PM
To: Wilkinson, Patrick <P2Wilkin@blm.gov>
Subject: FW: [EXTERNAL] RE: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in
Alaska

Hey Patrick, do you know the answer to this question? Anything we have here that we can share

From: Stahley, Peter (Energy) <Peter_Stahley@energy.senate.gov>
Sent: Monday, September 11, 2023 2:19 PM
To: Wallace, Andrew G <andrew_wallace@ios.doi.gov>
                        - - -
Cc: Gray, Morgan <Leslie_Morgan_Gray@ios.doi.gov>
Subject: [EXTERNAL] RE: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in Alaska




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                                           attachments, or responding.



Checking in on the cancellation “mechanism” and any decision documents? I expect I may get asked this again
today/tomorrow…

Thanks,
Peter

From: Stahley, Peter (Energy)
Sent: Wednesday, September 6, 2023 3:08 PM
To: Andrew Wallace (andrew
                     -        wallace@ios.doi.gov)
                                - -                <andrew
                                                        -    wallace@ios.doi.gov>
                                                                    -
Cc: Gray, Morgan <Leslie Morgan Gray@ios.doi.gov>
Subject: RE: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in Alaska
                                                                                                       Exhibit 2
                                                                                                         2 of 5
                 Case 3:24-cv-00051-SLG          Document 68-3        Filed 08/09/24       Page 3 of 6
                                                                                                            #1127863.2
I should've asked this prior - is there an SO or some other written orde ri'decision document that cancels the ANWR
leases? Can we please get a copy?

Tha nks,
Peter

From: U.S. De partment of the Int erior <info@UP.dates. interior.gm!,>
Sent: Wednesday, Sept ember 6, 2023 3:01 PM
To: Stahley, Pet er (Energy) <Peter Stahley.@energY,.senate.gm!,>
Subject: Biden-Harris Adm inistration Takes Major St eps to Protect Arctic Lands and Wi ldlife in Alaska




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                                                                                Date: Wednesday, September 6, 2023
                                                                                 Contact: Interior Press@ios.doi.gov


             Biden-Harris Administration Takes Major Steps to
                Protect Arctic Lands and Wildlife in Alaska
              Department of the Interior cancels oil and gas /eases in the Arctic National Wildlife Refuge;
                        proposes new protections in National Petroleum Reserve in Alaska

             WASHINGTON - The Biden-Harris administration today announced significant steps to
             protect the Arctic National Wildlife Refuge (Arctic Refuge) and more than 13 million acres in
             the National Petroleum Reserve in Alaska (NPR-A). These bold actions to protect the Arctic
             region build on President Biden's historic conservation and climate agenda, which already
             includes protecting more than 21 million acres of public lands and waters across the nation,
             and securing the Inflation Reduction Act, the largest investment in climate action in history.

             In the Arctic Refuge, Secretary of the Interior Deb Haaland has authorized the cancellation
             of the remaining seven oil and gas leases issued by the previous administration in the
             Coastal Plain. The leases were suspended in June 2021 following the issuance of
             Secretary's Order (S.O.) 3401, which identified "multiple legal deficiencies in the underlying
             record supporting the leases."

             In addition, the Department today .12roposed new regulations for the NPR-A that would
             ensure maximum protection for the more than 13 million acres of Special Areas in the
             reserve, while supporting subsistence activities for Alaska Native communities. The
             proposed rule, 12reviewed in March 2023, adds to President Biden's actions to protect
             millions of acres of lands and waters in the Arctic, including withdrawing approximately 2.8
             million acres of the Beaufort Sea, ensuring the entire United States Arctic Ocean is off limits
                                                                                                        Exhibit 2
             to new oil and gas leasing.
                                                                                                            3 of 5
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                                                                                                                    #1127863.3
"With climate change warming the Arctic more than twice as fast as the rest of the planet,
we must do everything within our control to meet the highest standards of care to protect
this fragile ecosystem," said Secretary Haaland. "President Biden is delivering on the most
ambitious climate and conservation agenda in history. The steps w e are taking today further
that commitment, based on the best available science and in recognition of the Indigenous
Knowledge of the original stewards of this area, to safeguard our public lands for future
generations."

Lease Cancellations in the Arctic National Wildlife Refuge

Follow ing passage of the Tax Cuts and Jobs Act of 2017 (Tax Act), the previous
Administration held an oil and gas lease sale in the Arctic Refuge's Coastal Plain on January
6, 2021 , and issued 10-year leases on nine tracts covering more than 430,000 acres. On
January 21, 2021 , President Biden issued Executive Order 13990, directing the Department
to review oil and gas leasing in the Refuge, "[i]n light of the alleged legal deficiencies
underlying the program ." S.O. 3401 directed a new, comprehensive analysis of the potential
environmental impacts of the Coastal Plain Leasing Program . Since that time, two of the
issued leases have been canceled and refunded at the request of the lessees. The
remaining seven leases held by the sole lessee covered 365,000 acres in the Coastal Plain.

The Secretary of the Interior has the authority to cancel or suspend oil and gas leases
issued in violation of a statute or regulation. The draft supplemental environmental impact
statement (SEIS) released today by the Bureau of Land Management (SLM) and the U.S.
Fish and Wildlife Service (FWS) developed information supporting the Department's
determination that the 2021 lease sale was seriously flawed and based on a number of
fundamental legal deficiencies, including: insufficient analysis under the National
Environmental Policy Act, including failure to adequately analyze a reasonable range of
alternatives and properly quantify dow nstream greenhouse gas emissions; and failure to
properly interpret the Tax Act. Accordingly, Secretary Haaland has determined that the
leases issued by the previous administration in the Arctic Refuge shall be cancelled .

Protections in the National Petroleum Reserve in Alaska

Extending from the northwest slope of the Brooks Range to the Arctic Coast, the NPR-A
encompasses roughly 23 million acres of public land managed by the SLM . Tribal Nations
have occupied lands now within the NPR-A since time immemorial, and over 40 Indigenous
communities continue to rely on subsistence activities in the reserve, harvesting caribou,
shore and waterbirds, and many other fish and wildlife species, w ith many communities
subsisting primarily from food harvested from the NPR-A.

Under the Naval Petroleum Reserves Production Act (NPRPA) of 1976, Congress directed
the SLM to balance oil and gas development with the management and protection of
sensitive landscapes - known as Special Areas - and surface resources across the reserve.
The proposed rule is designed to assure maximum protection of Special Areas, as
authorized under the NPRPA. The proposed rule would require that protections for Special
Areas remain in place for as long as the values and characteristics in those areas are
present, ensuring the durability of the protections into the future. The proposed rule also
would require the SLM to review and gather public input - at least every five years - on
whether existing special areas should be expanded, whether new special areas should be
designated, and w hether additional resources within special areas should be identified for
protection. Upon finalization of the proposed rule, the Administration w ill follow this proposed
process to inform the creation or expansion of additional special areas in the NPR-A.

The proposed rule would protect 13 million acres encompassed by the existing Special
Areas by limiting future oil and gas leasing and industrial development in the Teshekpuk
Lake, Utukok Uplands, Colville River, Kasegaluk Lagoon, and Peard Bay Special Areas -
places collectively known for their globally significant intact habitat for wildlife, including
grizzly and polar bears, caribou and hundreds of thousands of migratory birds. The rule
would establish an outright prohibition on any new leasing in 10.6 million acres, more than     Exhibit 2
40 percent of the NPR-A.                                                                          4 of 5
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                The proposed rule would raise the bar for development throughout the NPR-A by
                establishing clear guidelines that are consistent with provisions of the current management
                plan for the reserve, the NPR-A Integrated ActivitY. Plan (IAP). This current management
                plan for the reserve w as put in place in 2022, and effectively reversed the previous
                administration's IAP that sought to expand oil and gas leasing and development in the NPR-
                A and reduce protections for the Special Areas.

                The proposed rulemaking would help protect subsistence uses throughout the NPR-A,
                responding to Alaska Native communities who have relied on the land, water and w ildlife to
                support their way of life for thousands of years. It also advances the Biden-Harris
                administration's commitment to strengthening the role of Tribal governments in the
                management of public lands by encouraging the BLM to explore co-stewardship
                opportunities with Tribes for the Special Areas.

                Seeking Public Comment

                There will be a 45-day public review and comment period on the draft SEIS for the Coastal
                Plain. In developing the draft, the BLM and FWS engaged w ith a w ide variety of
                stakeholders and used the best available data and science, including Indigenous
                Knowledge. For additional information, go to BLM's e12lanning_12ag§l.

                The proposed NPR-A rule and ma12 of the five NPR-A Si::1ecial Areas as delineated in the
                2022 IAP, are available for preview. A forthcoming publication of the proposed rule in the
                Federal Register will open a 60-day public comment period. During that time, the BLM will
                host in-person meetings in communities on the North Slope, as well as virtual public
                meetings to discuss the proposed rule. Details of those opportunities will be made available
                soon.




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